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                            EXHIBIT 1
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                                J O H N S O N ,                         C A S S I D Y ,                        N E W L O N                   &            D E C O R T



                                                                              A T T O R N E Y S                   AT       LAW




K a t h e r i n e C. D o n l o n ., Esquire                                                                                             E - m a i l : kdonlon@jclaw.com

                                                                                                                                          Direct D i a l : 8 1 3 - 2 9 1 - 3 3 0 0




          Via E-Mail

          A l i s e M. Johnson

          Senior Trial Counsel

          Securities and Exchange Commission

          80 l Brickell A venue, Ste 1 9 5 0

          Miami, FL 3 3 1 3 1




                        Re:            Securities and Exchange Commission v. Harbor City Capital Corp., et a l. ,

                                       Case No. 6 : 2 1 - c v - 0 0 6 9 4 - C E M - D C I

          Dear Alise:



                        Thank you for considering me for appointment as Receiver in the above-referenced case.

         This letter i s submitted to provide you with further information regarding my back.ground and

         proposed staffing for the case.



                        Although I have not served as a Receiver in the past, for the past fifteen months, I have

         served as lead counsel to Receiver Burt Wiand in the case of SEC v.                                              Brian Davison,           et al,     Case

         No.        8:20-cv-325-T-35AEP.                      This   case      involves       a    Ponzi       scheme     at   EquiAlt,      a    real       estate

         development                and       property    management           company,           that   was   selling    debentures      to     investors          to

         allegedly           fund        the    purchase      of real   estate        but   in    fact   supported       the   lavish   lifestyles         of the

         Company's principals. The case involves over 1 7 0 0 investors who invested almost $200 m i l l i o n

         into the EquiAlt scheme. As lead counsel, I have worked closely with the Receiver and directed

         all    investigative and                   legal efforts on his behalf to marshal assets including real property, cars,

         jewelry and watches, and bank/investment accounts. I have also been the main liaison in the case

         with our forensic accountants at Yip Associates.



                        In addition to the marshalling of assets in the Davison case, we have also pursued clawback

         claims         against         investors       who    received       false   profits      and   sales   agents    who    received         fraudulent

         transfers in the guise of commissions and marketing fees. To date, we have been successful in

         obtaining $ 1. 2               m i ll i o n in settlements     with these investors.              Further,      I have   been involved with

         extensive negotiations between the SEC and Mr. Davison to come to terms on a settlement valued

         at over $24 m i ll i o n to benefit defrauded investors.                                 I am currently working toward starting the

         claims process in that matter.



                       In addition to serving as lead counsel in the EquiAlt case, I have been practicing in the area

         of complex commercial                         litigation for 26 years.             My practice focuses           largely on the defense of

         financial institutions and their associated persons but also includes general commercial litigation,




                             2802             N .    HowARD      AVE      ]   TAMPA,         FL      33607        ]   8 1 3 . 6 9 9 . 4 8 5 9
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Alise M. Johnson

Senior Trial Counsel

Securities and Exchange Commission

May 20, 2 0 2 1

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business torts, employment litigation and contract disputes. I previously served as President of the

Federal Bar Association, Tampa Bay Chapter, and in 2 0 1 0 received the Chapter's highest award

"for excellence in federal practice and distinguished service to the federal bar." I am active in the

Florida Bar Business Law Section and the Florida Securities Dealers Association. A brief resume

of my background and activities is attached as Exhibit A.



         My normal hourly rate for business litigation matters is $425/hour. For this receivership, I

would discount that rate to $ 3 5 0 . For legal services, I would anticipate retaining Johnson, Cassidy,

Newlon      &   DeCort      P.A.    ("JCND")      and      other   lawyers   to   perform      administrative    and    litigation

services. You can visit the Firm's website at www . j cl a w . c o m for more information. We have run

a conflicts check within the firm              against the parties and entities in this case and JCND has no

conflicts.



         Lawyers at JCND are experienced in handling complex commercial                                    litigation and have

worked on some receivership matters, including Securities and Exchange Commission v.                                       HKW

Trading, LLC, Howard Waxenberg Trading. L . L. C, et al., Case No. 8 : 0 5 - c - 1 0 7 6 - T - 2 4 M S S (M.D.

Fla.). It is l i k e l y that Nicole Newlon, Esq. will serve as primary counsel and will be assisted as

needed by other attorneys at the firm. Her brief resume is attached hereto as Exhibit B . Standard

billing rates for partners at JCND range from $ 2 5 0 to $475, however, I would propose a blended

partner rate of $ 3 5 0 for work on this case. Associate billing rates range from $ 1 9 5 to $ 2 5 0 . I would

propose a blended rate of $240.             A schedule of our proposed fees for this matter is attached as

Exhibit C. If necessary, I may employ other outside counsel, but would seek the assent of the SEC

and the Court before doing so.



         Based on the size of this case and the accounting work already done by the SEC, a separate

forensic     accounting      firm    may    not      be    necessary.    However,        should     matters     develop    where

accounting      assistance     is   required,   JCND         has    access   to   a   broad   array   of accounting       service

providers     that   have    substantial    experience         in    forensic     accounting,     fraud    examinations,     and

auditing.




         We work regularly with forensic information technology specialists that may be necessary

in a matter of this nature. If such services are needed, I will use them at a reasonable cost. Our

cases often involve cooperation with criminal                      law enforcement agencies. We are well versed in

assisting law enforcement and the use of appropriate procedures to preserve evidence.



         Through a combination of these professionals, I believe that we will be able to provide

prompt, efficient and economical services to receiverships. We work hard to gather and conserve

receivership     assets      with   a   view    to        maximizing    proceeds       for    victims     and   enhancing     the

effectiveness of a regulatory action.




                J O H N S O N ,            C A S S I D Y ,            N E W L O N            & DECORT



             2 8 0 2   N .    HOWARD       AvE        ]    TAMPA,     FL     3 3 6 0 7   ]    8 1 3 . 6 9 9 . 4 8 5 9
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 Alise M. Johnson

 Senior Trial Counsel

 Securities and Exchange Commission

 May 20, 2 0 2 1

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          Thank you for contacting me and allowing me the opportunity to submit t h i s proposal. I

 would be delighted to serve as Receiver in this matter. Please do not hesitate to contact me ifl can

 provide you with any additional information.




                                                           Sincerely,




                                                           JOHNSON, C A S S I D Y , NEWLON     & DECORT, P.A.




                                                             la..                     (Dds
                                                           Katherine C. Donlon



 KCD/mm




              J O H N S O N ,            C A S S I D Y ,     N E W L O N          &   D E C O R T




           2 8 0 2   N .   H o w A R D   Ave   ]   TAMPA,    FL   3 3 6 0 7   ]   8 1 3 . 6 9 9 . 4 8 5 9
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                  EXHIBIT A
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                                                                                                                   (http://www.jclaw.com)




                                                   Katherine C. "Kacy" Donlon
                                                             PARTNER




            Kacy Donlon is a partner at Johnson, Cassidy, Newlon & DeCort, P.A. She has practiced in the area of commercial
            and securities litigation for over 25 years. Her practice is based on the principles instilled in her during her
            clerkship with a federal judge in Alabama – work hard for your client, be honest, and look for creative ways to win
            or resolve cases. Kacy’s main concentration is the defense of businesses and individuals involved in the securities
            and financial services industries, and she also has experience in a broad spectrum of commercial litigation
            matters, including receiverships, employment disputes, business torts, and contract disputes. Kacy has handled
            complex matters in federal and state court as well as in arbitration, including the successful defense of numerous
            matters involving allegations relating to the sale of variable and equity-indexed annuities and other insurance
            product sales practices.

            Kacy’s experience includes the representation of national and regional brokerage and insurance firms in arbitration
             and court proceedings brought by customers involving variable products, mutual funds, REITs, BDCs, TICs, equity
            securities, oil and gas partnerships, and other investment products. In addition to litigation, Kacy has represented many
            clients in investigations and enforcement actions by regulatory bodies such as the SEC, FINRA, CFP, and state
            securities and insurance regulators. She also counsels clients on compliance issues.

            Kacy is originally from Alabama where she clerked for District Court Judge Seybourn Lynne in Birmingham before
            starting her legal practice in Tampa. She is the immediate past President of the Florida Securities Dealers
            Association and the incoming Chair for the Business Law Section of the Florida Bar. She is a past president of the
            Tampa Bay Chapter of the Federal Bar Association who in 2010 awarded her its highest award, the George C.
            Carr award, for excellence in federal practice and service to the Federal Bar.

            Admitted in both Florida and Alabama, Kacy is AV Peer Review Rated by Martindale-Hubbell and has been
            recognized as one of the Best Lawyers in America and a Super Lawyer.




         EDUCATION

           Washington and Lee University School of Law, J.D., cum laude, 1994 (Securities Editor, Law Review)
           University of St. Andrews, Scotland (Attended on Rotary International Scholarship), 1989-1990
    Case 6:21-cv-00694-CEM-DCI
                Birmingham-Southern College, Document
                                             B.A., summa cum 60-1       Filed
                                                             laude, , 1989       06/16/21
                                                                           (Phi Beta               PageOmicron
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                                                                                                               16 PageID 1003
                     Kappa)




                  ADMISSIONS

                     The Florida Bar
                     Alabama State Bar
                     U.S. Supreme Court
                     U.S. Court of Appeals, Eleventh Circuit
                     U.S. District Court, Middle, Northern, and Southern Districts of Florida




                  INVOLVEMENT

                     Florida Securities Dealers Association President (2020); Vice-President (2019); Treasurer (2018); Secretary
                     (2017); Board Member (2013-present)
                     The Business Law Section of The Florida Bar Chair-Elect (2020-2021); Treasurer (2019-2020); Secretary (2018-
                     2019); Chair, Legislation Committee (2017-2018); Chair, Communications Committee (2014-2015); Chair,
                     State/Federal Judicial Liaison Committee (2006-2007); Chair, Business Litigation Committee (2005-2006); Executive
                     Council (2004-present)
                     Federal Bar Association President, Tampa Bay Chapter (2006-2007); Executive Board (2000-2008)
                     Florida Bar Special Committee on Chapter 517 (2005-2007)
                     Florida Supreme Court: Committee on Standard Jury Instruction-Contract and Business Cases Member
                     (2006-2008)
                     Hillsborough County Bar Association
                     Securities Industry and Financial Markets Association Member, Compliance and Legal Division
                     American Bar Association Securities Litigation Committee; Section of Litigation
                     Southeastern Women in Financial Services
                     Birmingham-Southern College National Alumni Association Vice-President, Service and Outreach (2007-2009)
                     Leadership Tampa Class of 2004
                     Bayshore Christian School Athletic Boosters




                  EXPERIENCE

                     Fowler White Boggs Banker (1995-2009)
                     Wiand Guerra King (2009-2021)




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                  EXHIBIT B
Case 6:21-cv-00694-CEM-DCI Document 60-1 Filed 06/16/21 Page 9 of 16 PageID 1005


                                                                                                            (http://www.jclaw.com)




                                                     Nicole Deese Newlon
                                                           PARTNER




            Nicole is a partner at Johnson, Cassidy, Newlon, & DeCort, P.A. Nicole practices in the areas of commercial, real
            estate, business, civil, and complex litigation. She advises private and corporate clients on a broad range of
            commercial litigation matters. Nicole provides litigation support to both private and public companies, and
            individuals, corporations and their associated persons, investment dealers and advisers in civil, regulatory and
            compliance matters.


            Nicole has represented clients in arbitration and litigation matters, administrative investigations, proceedings
            before state and federal regulatory agencies and self-regulatory organizations, and in state, federal, and appellate
            courts. Nicole has defended matters involving heath care fraud, environmental crimes, and qui tam actions.


            Nicole has been named as a Rising Star by Super Lawyers in Business litigation, an honor given to less than 2%
            of all of Florida’s practicing attorneys. Nicole appeared frequently on CNBC, and local television and radio to
            comment on a variety of legal issues.


            Nicole is very active in the community, and served as a City Commissioner for the City of Dade City. Nicole serves
            on the Board of the Federal Bar Association Federal Litigation Section and on The Florida Bar Federal Court
            Practice Committee. Nicole is a Past President of The Tampa Bay Chapter of the Federal Bar Association. Though
            born in Tuscaloosa, Alabama, Nicole was raised here in the Tampa/Dade City area, where she currently lives with
            her twin boys.




         EDUCATION

           Stetson University College of Law
           J.D. magna cum laude, (Class Rank, 2nd)
           Certificate of Concentration: Advocacy
           Honors Program Graduate; Stanley Milledge Award Recipient;
           Victor O. Wehle Trial Advocacy Award
Case 6:21-cv-00694-CEM-DCI
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             Member: Trial Team, Moot Court Board, and Stetson Law Review
             University of South Florida
             M.B.A.
             University of South Florida
             B.A., Finance




           ADMISSIONS

             The Florida Bar
             U.S. District Court, Southern, Middle, and Northern Districts of Florida
             U.S. Court of Appeals, Eleventh Circuit




           INVOLVEMENT

           Current

             Dade City Rotary (Noon Club) Social Chair (2015-2017); President Nominee (2016-2017); President (2017-2018);
             Past President (2018-2019); Assistant Governor Area 5 (2018-2021); Board Member (2016-present)
             The Florida Bar Federal Court Practice Committee (Appointed 2015-present); Section Membership: Appellate,
             Business Law, City, County & Local Government Law, Trial Lawyers, and Solo & Small Firm
             Federal Bar Association (National) Federal Litigation Section, Secretary/Treasurer (2016-2018); Board Member
             (2015-present); Vice Chair (2018-2020); Chair (2020-2022).
             Federal Bar Association (Local) Tampa Bay Chapter, Member (2004-present); Board of Directors (2006-2008);
             Communications (2008-2010); Treasurer (2011-2012); Vice President (2012-2013); President (2014-2015);
             Immediate Past President (2015)
             American Bar Association Litigation and Criminal Justice Section
             Hillsborough County Bar Association Member (2004-present); Co-Chair of Young Lawyer’s Division Pro Bono
             Committee (2006-2008)
             Empowering Pasco’s Veterans (2019-present); Secretary (2019-present)
             Academy At The Farm PTO Board ( 2018-present); Treasurer (2019-present)



           Former

             City of Dade City Commissioner (2016-2020)
             Pasco Education Volunteer (2010-2011)
             Pasco High School School Advisory Committee (2012-2014)
             The Tampa Connection Class of 2008
             Tampa Bay Inn of Court (2005-2007)
             Herbert G. Goldburg Criminal Law Inn of Court (2008-2010)
             East Pasco YMCA Board of Directors (2009-2013)
             Florida Autism Center of Excellence Board of Directors (2010-2011)
             Hillsborough and Pasco Counties Guardian Ad Litem
             Delta Gamma
             Commission on the Status of Women (Pasco) (2016-2019)
             Merit Selection Panel, Middle District of Florida (2016-2017)
             Women Lawyers of Pasco (2016-2019)




           EXPERIENCE

             Carlton Fields (Summer Associate/Law Clerk, 2003-2004)
             Fowler White (2004-2007)
             Shutts & Bowen (2007-2014)
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                  EXHIBIT C
Case 6:21-cv-00694-CEM-DCI Document 60-1 Filed 06/16/21 Page 12 of 16 PageID 1008




                       JOHNSON, CASSIDY, NEWLON & DeCORT, P.A.


                                  PROPOSED RATES


          Professional          Range of Standard Rates     Proposed Rate

           Receiver                      $425                    $350

            Partner                   $250-$470                  $350

           Associate                  $195-$250                  $240

           Paralegal                  $165-$190                  $150
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                                                              JOHNSON CASSIDY
                                                                                   &
                                                              N E W L Q N D EC O RT (http://www.jclaw.com)
                                                                ATTORNEYS AT LAW




                                                               Bradley F. Kinni
                                                                ASSOCIATE




                         Brad is an associate at Johnson, Cassidy, Newlon & DeCort, P.A., having joined the Firm in August 2020. He has
                         focused his practice in the areas of business and commercial litigation, concentrating primarily on contract
                         disputes and litigation involving complex business and employment issues.


                         Brad attended the Florida State University College of Law, where he earned three book awards and graduated
                         magna cum laude in May 2020. While at FSU, Brad was a member of the Trial Team, competing in numerous
                         mock trial competitions in both Florida and Georgia, and he served as the President of the Phi Delta Phi legal
                         honor society during the 2019-2020 term. Throughout his summers in Tallahassee, Brad worked as a summer
                         associate at Hopping, Green & Sams, P.A. and a law clerk at Ausley McMullen, P.A.


                         In his free time, Brad enjoys visiting the lake and beach, attending concerts and sporting events, and spending
                         time with his friends and family. Raised in South Georgia, Brad moved to Tampa in the summer of 2020.




          EDUCATION

          • Florida State University College of Law J.D., magna cum /aude
          • University of Georgia B.B.A., Finance




          ADMISSIONS

          • The Florida Bar
          • U.S. District Court, Middle District of Florida




          INVOLVEMENT

          • The Florida Bar Young Lawyers Division
          • Hillsborough County Bar Association Young Lawyers Division
Case 6:21-cv-00694-CEM-DCI Document 60-1 Filed 06/16/21 Page 14 of 16 PageID 1010
           EXPERIENCE

          • Hopping, Green & Sams, P.A., Summer Associate (2019)
          • Ausley McMullen, P.A., Summer Law Clerk (2018)
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